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                          IN THE UNITED STATES DISTRICT COURT
                                 EASTERN DISTRICT OF ARKANSAS
                                      WESTERN DIVISION

UNITED STATES OF AMERICA                                                                         PLAINTIFF

v.                                       No. 4:92CR00090-05 JLH

ALFRED LEOTIS RODGERS                                                                         DEFENDANT

                                                  ORDER

        Pending is defendant Alfred Leotis Rodgers’ Motion for Reconsideration. Rodgers contends that he

is entitled to a reduction because he was responsible for 673 grams of cocaine base, which would make his base

offense level a 32. According to the PSR, Rodgers was responsible for 8,495.9 grams of cocaine and 589.32

grams of cocaine base.1 Under the new Guidelines, this constitutes 3,803.64172 kilograms of marijuana

equivalent and establishes a base offense level of 34. Rodgers had the same base offense level when his

sentence was reduced in 2008.2

        Section 1B1.10(a)(2) of the Guidelines reads: “A reduction in the defendant’s term of imprisonment

is not consistent with this policy statement and therefore is not authorized under 18 U.S.C. § 3582(c)(2) if .

. . an amendment listed in subsection (c) does not have the effect of lowering the defendant’s applicable

guideline range.”3 Rodgers’ base offense level and Guidelines range are unaffected by Amendment 750.

        Accordingly, Rodgers’ Motion for Reconsideration is DENIED. Document #348.

        IT IS SO ORDERED this 17th day of April, 2012.



                                                           J. LEON HOLMES
                                                           UNITED STATES DISTRICT JUDGE




        1
         Cocaine: 8,495.9 grams x 200 = 1,699,180 grams (1,699.18 kgs) of marijuana equivalent. Crack:
589.32 grams x 3,571 = 2,104,461.72 grams (2,104.46172 kgs) of marijuana equivalent.
        2
            Document #313.
        3
            U.S. SENTENCING GUIDELINES MANUAL § 1B1.10(a)(2)(B) (2011).
